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                     5 Attorneys for Defendant TheBalm
                       Cosmetics, Inc.
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                     8                                     UNITED STATES DISTRICT COURT
                     9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    10
                    11 ALI MAHDAVI, AN INDIVIDUAL,                          CASE NO. 2:20-CV-00332-ODW-SK
                                                                            The Hon. The Honorable Otis D.
                    12                        Plaintiff,                    Wright
                    13             vs.                                      FIFTH JOINT STIPULATION TO
                                                                            EXTEND TIME TO RESPOND TO
                    14 THEBALM COSMETICS                                    INITIAL COMPLAINT
                       HOLDINGS, INC., AND DOES 1
                    15 THROUGH 10 INCLUSIVE,                                Waiver of Summons and Complaint:
                                                                            January 29, 2020
                    16                        Defendants.                   Current response date: May 25, 2020
                                                                            New Response date: June 8, 2020
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                                                                            Trial Date:    None Set
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& SMITH LLP                                 JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
ATTORNEYS AT LAW
                   Case 2:20-cv-00332-ODW-SK Document 19 Filed 05/25/20 Page 2 of 3 Page ID #:46




                     1            WHEREAS, Plaintiff Ali Mahdavi (“Plaintiff”) filed this action on January
                     2 13, 2020;
                     3            WHEREAS, Defendant theBalm Cosmetics Holdings, Inc. (“Defendant”)
                     4 agreed to waive service of the Summons and Complaint in this action on January 29,
                     5 2020, making Defendant’s response to the Complaint due on or before March 30,
                     6 2020;
                     7            WHEREAS, pursuant to Local Rule 8-3, Plaintiff and Defendant previously
                     8 agreed to extend the deadline for Defendant to respond to the complaint until May
                     9 25, 2020;
                    10            WHEREAS, Plaintiff and Defendant continue to negotiate an early resolution
                    11 of this matter in good faith and are now in the process of finalizing a settlement
                    12 agreement between them;
                    13            WHEREAS, finalization of the settlement agreement has been delayed due to
                    14 business closure and unavailability of the parties as a result,
                    15            WHEREAS, and Plaintiff and Defendant believe that an additional 14 day
                    16 extension of time for Defendant to respond to the complaint will allow the parties
                    17 needed time to finalize their settlement agreement and will help to promote an early
                    18 resolution of this matter;
                    19            NOW THEREFORE, IT IS HEREBY STIPULATED by and between
                    20 Plaintiff and Defendant that Defendant’s time to file its response to the Complaint in
                    21 this action shall be extended by an additional 14 days, or through and including June
                    22 8, 2020.
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& SMITH LLP                                 JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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                   Case 2:20-cv-00332-ODW-SK Document 19 Filed 05/25/20 Page 3 of 3 Page ID #:47




                     1 DATED: May 25, 2020                           ROBERT M. COLLINS
                                                                     LEWIS BRISBOIS BISGAARD & SMITH             LLP
                     2
                     3
                     4
                                                                     By:         /s/ Robert M. Collins
                     5                                                     Robert M. Collins
                                                                           Attorneys for Defendant TheBalm
                     6
                                                                           Cosmetics, Inc.
                     7
                     8 DATED: May 25, 2020                           STEPHEN CHARLES MCARTHUR
                                                                     THE MCARTHUR LAW FIRM, PC
                     9
                    10
                    11
                                                                     By:         /s/ Stephen McArthur
                    12                                                     Stephen Charles McArthur
                    13                                                     Attorneys for Plaintiff Ali Mahdavi

                    14
                                  Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
                    15
                         signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
                    16
                         content and have authorized the filing.
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& SMITH LLP                                 JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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